            Case 1:19-cv-07259-VM Document 6 Filed 08/07/19 Page 1 of 4




GEOFFREY S. BERMAN
United States Attorney
Southern District of New York
By: JOHN E. GURA, Jr.
Assistant United States Attorney
86 Chambers Street, 3rd Floor
New York, New York 10007
Telephone: (212) 637-2712
Facsimile: (212) 637-2717
E-mail: john.gura@usdoj.gov

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  UNITED STATES OF AMERICA,

                            Plaintiff,                  COMPLAINT

               v.                                       Docket No. 19 Civ. ____________

  JACOB N. STEIN, individually and d/b/a
   TEPdesign, Inc.

                            Defendant.



       Plaintiff the United States of America (the “United States”), by its attorney, Geoffrey S.

Berman, United States Attorney for the Southern District of New York, for its Complaint, alleges

upon information and belief as follows:

                                    NATURE OF ACTION

       1.      This is an action to recover money due and owing the United States by defendant

Jacob N. Stein (“Defendant”) pursuant to a final order of the Commodity Futures Trading

Commission (“CFTC”), an agency of the United States, as reported In the Matter of CFTC v.

Jacob N. Stein, individually and d/b/a TEPdesign, Inc., CFTC Docket No. 14-20.
            Case 1:19-cv-07259-VM Document 6 Filed 08/07/19 Page 2 of 4



                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1345 and 1355.

       3.      Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §

1391(b).

                                         THE PARTIES

       4.      Plaintiff United States is a sovereign.

       5.      Defendant Jacob N. Stein is a natural person whose last known address is 5 E. Ridge

Road, Hankins, New York 12741. Defendant is currently incarcerated in Greene Correctional

Facility, 165 Plank Road, P.O. Box 8, Coxsackie, New York 12051-0008.

                                  FACTUAL ALLEGATIONS

       6.      On August 11, 2014, CFTC issued an Order, In the Matter of CFTC v. Jacob N.

Stein, individually and d/b/a TEPdesign, Inc., instituting proceedings pursuant to section 6(c) and

6(d) of the Commodity Exchange Act, 7 U.S.C. §§ 6c and 6d, in which it made findings and

imposed remedial sanctions on Defendant (the “Order”).          The Order was issued following

Defendant’s offer of settlement. The Order provides, inter alia, that defendant pay (a) restitution

in the amount of $244,400.00 to a CFTC-appointed monitor within thirty days; (b) a civil monetary

penalty of $100,000.00 to the CFTC within thirty days. The Order also stated that failure to pay

the amounts owed would result in post-judgment interest charges. A true and correct copy of the

CFTC Order is attached hereto as Exhibit A and incorporated herein.

       7.      By letter dated September 15, 2014, the National Futures Association (“NFA”), the

monitor appointed under the Order and responsible for the collection of Defendant’s restitution

payment, notified Defendant that, to date, he had not paid the $244,400.00 restitution owed under

the Order. The letter further advised Defendant that if his payment was not received by the monitor



                                                 2
             Case 1:19-cv-07259-VM Document 6 Filed 08/07/19 Page 3 of 4



by September 29, 2014, the matter would be referred to the CFTC for further action. A true and

correct copy of the September 15, 2014 letter is attached as Exhibit B.

       8.       By letter dated October 2, 2014, Daniel A. Driscoll of NFA advised Patrick Daly

of the CFTC that notwithstanding several attempts by NFA to collect, Defendant had failed to pay

the restitution owed under the Order. NFA’s letter further advised Defendant that it was referring

the matter back to the CFTC for action to seek collection. A true and correct copy of the October

2, 2014 letter is attached as Exhibit C.

       9.       On or about October 10, 2014, the CFTC sent Defendant a Notice of Claim for

Monetary Sanctions (“Notice”). The Notice advised Defendant that he was to pay immediately

(a) $100,015.29 in a civil monetary penalty (consisting of $100,000 in principal plus post-

judgment interest as of October 8, 2014, of $15.29); and (b) $244,437.34 in restitution (consisting

of $100,000 in principal plus post-judgment interest as of October 8, 2014, of $15.29). Defendant

was further advised that interest on his restitution and civil monetary penalty was set at 0.12

percent, and would be compounded annually until his debt was paid in full, as provided by 28

U.S.C. 1961. A true and correct copy of the October 10, 2014 Notice is attached as Exhibit D.

       10.      On or about December 20, 2016, Defendant sent a letter to NFA affirming that he

had not paid the restitution or civil monetary penalty imposed by the CFTC. In his letter,

Defendant explained that his failure to pay his restitution and the monetary penalty was due to his

incarceration as a result of charges brought by New York State. Defendant further stated that

“Upon release from prison, I fully intend to comply… and pay all the funds with interest as rapidly

as possible.” A true and correct copy of Defendant’s December 20, 2016 letter is attached as

Exhibit E.




                                                3
             Case 1:19-cv-07259-VM Document 6 Filed 08/07/19 Page 4 of 4



       11.      This matter was referred to the United States Attorney’s Office for the Southern

District of New York (the “Office”) to seek a judgment for Defendant’s unpaid obligation. On

July 17, 2019, this Office sent a letter to Defendant informing him we would file suit unless he

satisfied his restitution and monetary penalty obligations by July 31, 2019. Defendant has not

satisfied those obligations.

       12.      Defendant is liable for civil penalties pursuant to 7 U.S.C. § 9a in the amount of

$100,529.60, and an additional $239,115.26 in restitution pursuant to the CFTC’s August 11, 2014

Order. Despite due demand, Defendant has failed to pay the amount demanded. A certificate of

indebtedness from the CFTC is attached as Exhibit F and incorporated herein.

       WHEREFORE, Plaintiff the United States demands judgment against Defendant in the

amount of $339,644.86 as of May 9, 2019, with interest accruing thereafter at the rate of 0.12%

per annum, and for such other and further relief as the Court may deem proper.

Date: August 2, 2019
      New York, New York

                                             Respectfully submitted,

                                             GEOFFREY S. BERMAN
                                             United States Attorney

                                      By:    s/ John E. Gura, Jr.
                                             JOHN E. GURA, Jr.
                                             Assistant United States Attorney
                                             86 Chambers Street, 3rd Floor
                                             New York, New York 10007
                                             Telephone: (212) 637-2712
                                             Facsimile: (212) 637-2717
                                             E-mail: john.gura@usdoj.gov




                                                 4
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 1 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 2 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 3 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 4 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 5 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 6 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 7 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 8 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 9 of 10
Case 1:19-cv-07259-VM Document 6-1 Filed 08/07/19 Page 10 of 10
Case 1:19-cv-07259-VM Document 6-2 Filed 08/07/19 Page 1 of 1
Case 1:19-cv-07259-VM Document 6-3 Filed 08/07/19 Page 1 of 1
Case 1:19-cv-07259-VM Document 6-4 Filed 08/07/19 Page 1 of 3
Case 1:19-cv-07259-VM Document 6-4 Filed 08/07/19 Page 2 of 3
Case 1:19-cv-07259-VM Document 6-4 Filed 08/07/19 Page 3 of 3
Case 1:19-cv-07259-VM Document 6-5 Filed 08/07/19 Page 1 of 1
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 1 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 2 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 3 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 4 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 5 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 6 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 7 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 8 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 9 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 10 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 11 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 12 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 13 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 14 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 15 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 16 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 17 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 18 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 19 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 20 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 21 of 22
Case 1:19-cv-07259-VM Document 6-6 Filed 08/07/19 Page 22 of 22
